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United States Court of ?\ppeals

FOR THE D|STR|CT OF COLUMBIA C|RCU|T

No. 08-7063 September Term 2008
1 :01-cv-01 924
Filed On: February 27, 2009 [1161122]

Donna Marie Ho||and, lndividua||y and as
Administrator of the Estate of Robert S.
Ho|land, deceased, et a|.,

Appel|ants

V.

islamic Republic of lran, Ministry of Foreign
Affairs, et al.,

Appe||ees

0 R D E R
Upon consideration of appellants’ motion for voluntary dismissal of appeal, it is
ORDERED that the motion be granted, and this case is hereby dismissed.
The C|erk is directed to transmit forthwith to the United States District Court for
the District of Columbia a certified copy of this order in lieu of formal mandate.
FOR THE COURT:
Mark J. Langer, C|erk
BY: /s/

Mark A. Butler
Deputy C|erk

